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     ~AO 245B (CASD) (Rev. 4/14)

                 Sheet I
                                      Judgment in a Criminal Case
                                                                                                                                                         FILED
                                                                                                                                              lIli JUN lit PH 3: 38
                                                 UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF CALIFORNIA                                                           ~ ~ti1t~~
                      UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE                                        T~           r&U!V
                                           v.                                            (For Offenses Committed On or After November 1, 1987)

                            ASHLEY JOHNSON (2)                                           Case Number: lSCR2672-WQH
                                                                                         CRAIG SMITH, FEDERAL DEFENDERS
                                                                                         Defendant's Attorney
     REGISTRATION NO. 49733298

    D
     THE DEFENDANT:
     181 pleaded guilty to count(s) ..:1....:0:.:F:.......::..TH=E..:IN::..:.::D..:..IC:.T:.:M=E.:...N..:T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                      Count
     Title & Section                            Nature of Offense                                                                                    Number(s)
18 USC IS94(c)                           CONSPIRACY TO ENGAGE IN SEX TRAFFICKING OF CHILDREN                                                         1
18 USC IS94(d)




        The defendant is sentenced as provided in pages 2 through _ _4:........_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 181 Count(s) ALL REMAINING                                                               is   D arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00

 Igj Fine waived                                     181 Forfeiture pursuant to order filed ____JUNE.. :. . . . ::.. ;;..14;..:.,. ;. 2. ;. O_16_ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any ehange ofname, residence,
 or mailing address until all fines, restitutio~ costs, and special assessments imposed by this judgment arc fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                    JUNE 14,2016




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AO 2458 (CASD) (Rev. 4114)   Judgment in a Criminal Case
            Sheet 2   Imprisonment
                                                                                              Judgment - Page _,.;;;2_ of
 DEFENDANT: ASHLEY JOHNSON (2)
 CASE NUMBER: 15CR2672-WQH
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         70 months



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         That the defendant be designated to a facility in the Western Region/as close to Southern California as possible




    o    The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States MarshaL

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before ------------------------------------------------------------------------
        o as notified by the United States MarshaL
        o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at ______________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                     By _ _ _ _ _~~~~==~~~~~--------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     15CR2672-WQH
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AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
              Sheet 3   Supervised Release
                                                                                                              Judgment Page __3__ of _ _4.:--_ _
DEFENDANT: ASHLEY JOHNSON (2)                                                                         a
CASE NUMBER: 15CR2672-WQH
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled sub~ta?ce. The defendant shall r~frai? from any unlawful use of a ~on.trolled
substance. The defendant shall submit to one drug test wlthm 15 days of release from Imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month durmg
the term of supervision, unless 0 therwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, .pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tfie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 1690I, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as direeted by the probation officer, the defendant shall notify third parties of Ii sks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                      15CR2672-WQH
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   AO 2458   (Rev. 9/00) Judgment in a Criminal Case
             Sheet 4    Special Conditions

                                                                              Judgment-Page _4_ of             4
   DEFENDANT:               ASHLEY JOHNSON
   CASE NUMBER:             15CR2672-WQH

                                    SPECIAL CONDITIONS OF SUPERVISION

1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage
devices or media, and effects to search at any time, with or without a warrant, by any law enforcement or probation
officer with reasonable suspicion concerning a violation of a condition of probation/supervised release or unlawful
conduct, and otherwise in the lawful discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

2. Provide complete disclosure of personal and business financial records to the probation officer as requested.

3. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material,
or through any third-party communication, with the victims or victims' family, without prior approval of the
probation officer.

4. Not associate with known prostitutes or pimps (with the exception of codefendant R. JOHNSON)

5. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
